19-22312-rdd       Doc 270       Filed 04/09/19       Entered 04/09/19 15:09:05    Main Document
                                                     Pg 1 of 8


                                                   Hearing Date and Time: April 16, 2019 10:00 a.m.
                                                      Objection Deadline: April 9, 2019 at 4:00 p.m.

Marilyn Cowhey Macron
(Marilyn@MarilynMacron.com)
Marilyn Macron, P.C.
211 Beach 134th Street, First Floor
Belle Harbor, NY 11694
Telephone: 718-404-7199
Facsimile: 718-945-7455
Counsel for U.S. TelePacific Corp.
(doing business as TPx Communications)


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re:
                                                                                        Chapter 11
WINDSTREAM HOLDINGS, INC., et al,
                                                                          Case No. 19-22312 (RDD)
                                   Debtor(s).
                                                                               Jointly Administered
------------------------------------------------------X


       OBJECTION OF U.S. TELEPACIFIC CORP. TO DEBTORS’ MOTION FOR
        ENTRY OF AN ORDER (I) PROHIBITING UTILITY PROVIDERS FROM
          ALTERING, REFUSING, OR DISCONTINUING UTILITY SERVICES,
     (II) DETERMINING ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE
          UTILITY SERVICES, AND (III) ESTABLISHING PROCEDURES FOR
              DETERMINING ADEQUATE ASSURANCE OF PAYMENT

                                          Preliminary Statement
        1.       U.S. TelePacific Corp. (doing business as TPx Communications) is the nation’s
premier managed services provider and a creditor of the Debtors. U.S. TelePacific Corp.
opposes Debtors’ Motion For Entry Of An Order (I) Prohibiting Utility Providers From
Altering, Refusing, Or Discontinuing Utility Services, (II) Determining Adequate Assurance
Of Payment For Future Utility Services, And (III) Establishing Procedures For Determining
Adequate Assurance Of Payment [Docket No. 7] (the “Utility Motion”) and joins in the
objections raised by other utilities [Docket No. 229]. U.S. TelePacific Corp. and the Debtors


                                                          1
19-22312-rdd     Doc 270     Filed 04/09/19    Entered 04/09/19 15:09:05         Main Document
                                              Pg 2 of 8


have engaged in negotiations and attempted to reach an agreement that provides adequate
assurance of payment for utility service pursuant to 11 U.S.C. §366(c)(2). However, if the
parties are unable to reach an agreement prior to the hearing on the Utility Motion, U.S.
TelePacific Corp. requests that the Utility Motion be denied for the reasons stated below and for
the reasons raised by the other utilities. The Debtor have not submitted sufficient admissible
evidence to support granting the relief sought in the Utility Motion.


                                        BACKGROUND
a. U.S. TelePacific Corp. is a Utility That Provides Telecommunications to the Debtors
       2.      U.S. TelePacific Corp. is the nation’s premier managed services provider. U.S.
TelePacific Corp. and its sister corporations deliver unified communications, managed IT, and
network connectivity to approximately 55,000 customer locations across the United States.
U.S. TelePacific Corp. provides utility service (unified communications, managed IT, and
network connectivity) to the debtors under 11 separate account numbers.
       3.      Prior to the hearing on the Utility Motion, U.S. TelePacific Corp. will file a proof
of claim. That proof of claim will serve as “prima facie evidence of the validity and amount of”
U.S. TelePacific Corp.’s claim. Federal Rule of Bankruptcy Procedure 3001(f) (“Evidentiary
Effect. A proof of claim executed and filed in accordance with these rules shall constitute prima
facie evidence of the validity and amount of the claim.”). The proof of claim will confirm that
U.S. TelePacific Corp.’s pre-bankruptcy claim is $580,321.79. (There is no pre-petition security
deposit.)
       4.      Post-bankruptcy, U.S. TelePacific Corp. has continued to provide (at the debtors’
request) unified communications, managed IT, and network connectivity services to the debtors
in possession. As of April 1, 2019, U.S. TelePacific Corp.’s post-petition administrative claim
was approximately $284,237.18. Here are the details of the claim as of April 1, 2019:




                                                 2
19-22312-rdd     Doc 270     Filed 04/09/19    Entered 04/09/19 15:09:05          Main Document
                                              Pg 3 of 8




5.     The average monthly billing on the 11 accounts is approximately $279,000.00.
b. The Circumstances Surrounding the Debtors’ Filing
       6.      As the Court is well aware, on February 15, 2019, a substantial judgment was
entered against the Debtors in favor of Aurelius. Thomas Declaration, p. 5, ¶10. Windstream’s
management never planned for an unfavorable judgment in favor of Aurelius; so, the debtors did
not reserve funds to provide for this judgment. As a result of this failure in planning, the Aurelius
judgment resulted in an immediate liquidity crisis for the Debtors. Thomas Declaration, p. 6-7,
¶¶10, 13.
       7.      The Debtors have admitted that they cannot survive in chapter 11 without
borrowing heavily. Thomas Declaration, pp. 23-24, ¶47. Among other expenses, the debtors
spend $60,000,000.00 a year on utilities. Thomas Declaration, p. 51 [internal page 20 to
Evidentiary Support for First Day Motions] , ¶48 (“$5,000,000.00 each month on account of
Utility Services, based on a historical average”). At the present time, they have no plan of
reorganization “in prospect.” Thomas Declaration, p. 7, ¶15 (“Windstream intends to engage
with all stakeholders postpetition and use the chapter 11 process as to build consensus around a
value-maximizing result that will inure to the benefit of stakeholders enterprise wide.”). The
Debtors have no idea how long the chapter 11 will take. Thomas Declaration, p. 24, ¶48
(“building consensus takes time, especially under these circumstances”).
       8.      Debtors and U.S. TelePacific Corp. are in similar businesses. Thomas
Declaration, p. 9-10, ¶¶19-21. But U.S. TelePacific Corp. is not a critical vendor for the debtors.
Thomas Declaration, p. 45, ¶33. Debtors need their utilities to provide service on credit to the
debtors or it “will jeopardize ... reorganization efforts.” Thomas Declaration, p. 52, ¶49.



                                                 3
19-22312-rdd      Doc 270      Filed 04/09/19     Entered 04/09/19 15:09:05            Main Document
                                                 Pg 4 of 8


        9.      In the Utility Motion, the Windstream debtors have proposed a “deposit” of sorts.
The debtors will put $2,500,000.00 (the “Utilities Fund”) (two weeks of estimated utility
payments) into the debtors’ own bank account. The debtors will hold the funds “for the benefit of
the Utility Providers.” Utility Motion, ¶12.


                                            OBJECTIONS
A.      The Debtors’ Request Does Not Comply With 11 U.S.C. §366
        10.     With the 2005 amendments to the Bankruptcy Code (the Bankruptcy Abuse
Prevention and Consumer Protection Act), Congress carefully balanced the rights of utilities
(like U.S. TelePacific Corp.) and its customers. 11 U.S.C. §366(c)(2) states in relevant part that
with respect to a case filed under chapter 11, a utility ... may alter, refuse, or discontinue utility
service to the debtors, if during the 30-day period beginning on the date of the filing of the
petition, the utility does not receive from the debtor ... adequate assurance of payment for utility
service that is satisfactory to the utility. In Section 366, Congress carefully defined “assurance
of payment as (i) a cash deposit; (ii) a letter of credit; (iii) a certificate of deposit; (iv) a surety
bond; (v) a prepayment of utility consumption; or (vi) another form of security that is mutually
agreed on between the utility and the debtor.       or the trustee. ... For purposes of this subsection
an administrative expense priority shall not constitute an assurance of payment.”).
        11.     On the one hand, U.S. TelePacific Corp. is initially required to continue to
provide postpetition service to new chapter 11 debtors. 11 U.S.C. §366(a) (“Except as provided
in subsections (b) and (c) of this section, a utility [U.S. TelePacific Corp.] may not alter, refuse,
or discontinue service to, or discriminate against, the trustee or the debtor solely on the basis of
the commencement of a case under this title or that a debt owed by the debtor to such utility for
service rendered before the order for relief was not paid when due.”). As the quid pro quo for
requiring U.S. TelePacific Corp. to provide postpetition utility service to the Windstream
debtors, the debtors are required to provide adequate assurance that U.S. TelePacific Corp. will
be paid. See, 11 U.S.C. §366(c)(2).
        12.     This is always risky business for the utility. After all, the utility’s customer just
filed a bankruptcy petition. The Windstream bankruptcies are no different. This is a massive
bankruptcy, with 205 related debtors. A complete list was prepared and posted by Windstream
claims’ agent at: http://www.kccllc.net/windstream/document/8851800190220000000000002.

                                                    4
19-22312-rdd      Doc 270     Filed 04/09/19     Entered 04/09/19 15:09:05          Main Document
                                                Pg 5 of 8


        13.     U.S. TelePacific Corp. objects to the adequate assurance proposed by the Debtors
as wholly insufficient. The proposed Utilities Fund does not qualify as a “cash deposit” because
the $2,500,000.00 is not being paid to the utilities, such as U.S. TelePacific Corp. 11 U.S.C.
§366(c)(1)(A) (referring to “cash deposit”). There is no change of title or possession in the
deposit account. The debtors are not proposing to pay a separate deposit to U.S. TelePacific
Corp.
        14.     The $2,500,000.00 offer is not satisfactory to U.S. TelePacific Corp. As other
objecting utilities have said [Docket #229, pp. 4-5]:


        With respect to the amount, the Debtors do not describe the calculations upon which the
        $2,500,000 amount was derived, or do they explain what ‘approximately one half of the
        Average Monthly Utility Expense’ means. Moreover, nowhere in the Motion do the
        Debtors identify what amount they have placed in the Adequate Assurance Account for
        each of the utilities so that the Utilities can review the Debtors’ proposed number to
        confirm that the amount is correct. Furthermore, the Debtors do not explain why or how a
        two-week amount can constitute adequate assurance of payment when the Debtors know
        that they receive monthly bills from the Utilities and are provided generous payment
        terms of up to a month after an invoice is issued to pay the foregoing charges.
        Accordingly, the Court should deny the Motion as to the Utilities because the Debtors
        have failed to meet their burden as to why this Court should modify the amount of
        adequate assurance of payment requested by the Utilities.


        15.     The Court should also find that the Utility Motion is not supported by adequate
evidence. The only evidence supporting the debtors’ Utility Motion is found in the declaration
of Tony Thomas (“Thomas Declaration”), Docket No. 27. Also, debtors have proposed no
formalities regarding the creation of a security interest in the Utilities Fund. There is nothing to
guide the debtors, utilities, debtor in possession lenders, or third parties on priority disputes to
the Utilities fund.
        16.     The debtors’ proposal does not address the risk of possible disgorgement, should
the Windstream bankruptcies fail and become administratively insolvent. The proposal forces
U.S. TelePacific Corp. to incur substantial resources and legal fees to watch the bankruptcy cases

                                                   5
19-22312-rdd     Doc 270      Filed 04/09/19    Entered 04/09/19 15:09:05          Main Document
                                               Pg 6 of 8


and closely monitor the invoices. There is no one in charge to address questions regarding slow
payments and delays on payment of the postpetition invoices. This is the not the balancing act
crafted by Congress in 11 U.S.C. §366.


B. The Court Should Direct the Debtors to Provide U.S. TelePacific Corp. With No Less
than Two Month Security Deposit

       17.     U.S. TelePacific Corp. requests that the Court direct the Debtors to provide it with

a two month security deposit. A fair and adequate two-month security deposit for U.S.

TelePacific Corp. would be $558,000.00 (two times the average monthly billing of $279,000.00).

Debtors should pay the security deposit ($558,000.00) directly to U.S. TelePacific Corp.

       18.     Regardless of the outcome of the Utility Motion, Debtors must pay all
postpetition charges in full when due. If the Debtors fail to pay any postpetition invoice, U.S.
TelePacific Corp. will terminate service under its contract terms without further court
intervention. In re Jones, 369 B.R. 745, 749 (Bankr. App. 1st Cir. 2007) (“... failure to make
postpetition payments ... allows for termination without requesting permission from the
bankruptcy court ... courts have routinely allowed utilities to terminate service for post-petition
delinquencies without obtaining relief from stay.”). U.S. TelePacific Corp. requests that the
Court permit it to apply the $558,000.00 security deposit to unpaid invoices, but without further
order of the court, at the time of termination of service. If there is any money left over after U.S.
TelePacific Corp. applies the $558,000.00 security deposit to unpaid postpetition invoices, U.S.
TelePacific Corp. will return the balance of the security deposit to those Debtor(s) that paid that
security deposit. If the Debtors timely pay all postpetition charges, U.S. TelePacific Corp. will
return the full security deposit on the effective date of confirmation of Debtors’ chapter 11 plan.
If the Debtors reject the executory contract with U.S. TelePacific Corp., then U.S. TelePacific
Corp. will return the balance of the security deposit after termination of service, a final
accounting, and all postpetition invoices are satisfied in full. U.S. TelePacific Corp. submits that
these procedures are reasonable under the circumstances of these cases.




                                                  6
19-22312-rdd     Doc 270     Filed 04/09/19    Entered 04/09/19 15:09:05          Main Document
                                              Pg 7 of 8


 The Debtors’ Have Failed to Meet Their Burden of Proof and the Utility Motion Should be
                          Denied under the Totality of Circumstances


       19.     The Court should find that the Debtors have failed to meet their burden of proof,
and that the Utility Motion should be denied under all of the circumstances of these cases. The
motion is inadequately supported by evidence and information sufficient to support the relief
requested. The Debtors bear the burden of proof to support their motion. Here, the Debtors’
evidence is the testimony of Mr. Thomas. Even if Mr. Thomas’ testimony [Docket No. 27, pp.
51-52, ¶¶ 48-49] was admissible, it does not support the requested relief. It simply establishes
that the Debtors have a liquidity crisis and cannot operate without postpetition credit from the
utility companies.
       20.     While some of Mr. Thomas’ testimony is based on “personal knowledge,” other
parts of his testimony are based on hearsay (“discussions with other [unidentified] members of
Windstream’s management team”), a review of unidentified documents (“my review of relevant
documents and information concerning Windstream operations, financial affairs, and
restructuring initiatives”), and “opinions.” Docket No. 27, p. 2, ¶3. Very little weight should be
given to this portion of Mr. Thomas’s statements.
       21.     The Court has limited review of the utility process. It can “order modification of
the amount of an assurance of payment under paragraph (2).” 11 U.S.C. §366(c)(3)(A). In these
cases, this court should examine the totality of the admissible facts and circumstances, when
considering a question of “adequate assurance” before it exercises that review. Based on the
facts presented by the Debtors, the Utility Motion should be denied.
       WHEREFORE, U.S. TelePacific Corp. respectfully requests that the Court deny the




                                                 7
19-22312-rdd    Doc 270      Filed 04/09/19    Entered 04/09/19 15:09:05        Main Document
                                              Pg 8 of 8


Utility Motion as proposed and grant such other and further relief as it deemed just and

equitable.

Dated: April 9, 2019
Belle Harbor, NY
                                                     Marilyn Macron P.C.

                                                     By: /s/ Marilyn Cowhey Macron
                                                     Marilyn Cowhey Macron (MM-8311)

                                                     211 Beach 134th Street, 1st Floor
                                                     Belle Harbor, NY 11694
                                                     Tel. 718-404-7199
                                                     Fax. 718-945-7455
                                                     marilyn@marilynmacron.com
                                                     Counsel for U.S. TelePacific Corp.




                                                8
